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                                                             March 1, 2023

VIA ECF
The Honorable Margo K. Brodie
Chief United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

       Re:    United States v. Ng Chong Hwa a.k.a Roger Ng, 18 Cr. 538 (MKB)

Dear Chief Judge Brodie:

       We write to request a temporary modification of Mr. Ng’s conditions of release to allow
him to attend a religious prayer on Guru Rinpoche Day at the Nyingma Palyul Dharma Center in
Queens. The prayer is today, March 1, 2023, from 7 pm – 9 pm and we are requesting that his
curfew be extended to 11 pm tonight only. Thank you for your consideration.

                                                             Respectfully submitted,



                                                             Marc A. Agnifilo, Esq.

cc:    Counsel for the Government (via ECF)
       Pretrial Services Officer Bianca Carter (via email)
